    Appellate Case: 23-1135    Document: 33     Date Filed: 08/28/2023   Page: 1
                                   No. 23-1135
d




              IN THE UNITED STATES COURT OF APPEALS
                      FOR THE TENTH CIRCUIT
                        ____________________

                              DARLENE GRIFFITH,

                                              Plaintiff-Appellant

                                        v.

                   EL PASO COUNTY, COLORADO, et al.,

                                          Defendants-Appellees
                              ____________________

       ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF COLORADO
              The Honorable Judge Christine M. Arguello
                    No. 21-cv-00387-CMA-NRN
                               ____________________

         BRIEF FOR THE UNITED STATES AS AMICUS CURIAE
               IN SUPPORT OF PLAINTIFF-APPELLANT
                ON THE ISSUES ADDRESSED HEREIN
                               ____________________

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     Appellate Case: 23-1135              Document: 33             Date Filed: 08/28/2023              Page: 2



                                      TABLE OF CONTENTS

                                                                                                              PAGE

INTEREST OF THE UNITED STATES ................................................................. 1

STATEMENT OF THE ISSUES.............................................................................. 3

STATEMENT OF THE CASE ................................................................................. 3

        1.      Factual Background ............................................................................. 3

        2.      Procedural History ............................................................................... 5

SUMMARY OF THE ARGUMENT ....................................................................... 7

ARGUMENT

        I       INTERMEDIATE SCRUTINY APPLIES TO THE JAIL’S
                POLICIES BECAUSE THEY DIFFERENTIATE BASED
                ON SEX ................................................................................................ 9

                A.       The Jail’s Policies Differentiate On The Basis Of Sex .............. 9

                B.       Brown Does Not Require Application Of Rational-
                         Basis Review To Griffith’s Equal-Protection Claim ............... 13

        II      COMPENSATORY DAMAGES CLAIMS UNDER TITLE II
                AND SECTION 504 ARE NOT LIMITED TO VIOLATIONS
                OF “SETTLED LAW” ....................................................................... 15

                A.       The Deliberate-Indifference Standard Applicable To
                         Certain Title II And Rehabilitation Act Claims Concerns
                         The Defendant’s Notice Of The Facts, Not The Law ............... 16

                B.       The Legal Notice Required For Damages Liability
                         Under Title II Or Section 504 Does Not Amount To
                         A “Settled Law” Requirement ................................................. 22
      Appellate Case: 23-1135              Document: 33           Date Filed: 08/28/2023            Page: 3



TABLE OF CONTENTS (continued):                                                                             PAGE

                  C.       The District Court Offered No Sound Basis For A
                           “Settled Law” Requirement ..................................................... 25

CONCLUSION ....................................................................................................... 27

CERTIFICATE OF COMPLIANCE

CERTIFICATE OF DIGITAL SUBMISSION

CERTIFICATE OF SERVICE




                                                       - ii -
     Appellate Case: 23-1135            Document: 33         Date Filed: 08/28/2023          Page: 4



                                  TABLE OF AUTHORITIES

CASES:                                                                                             PAGE

Adams v. School Bd. of St. John’s Cnty.,
     57 F.4th 791 (11th Cir. 2022) (en banc) ........................................................11

Alexander v. Sandoval, 532 U.S. 275 (2001) ..........................................................17

Ashcroft v. Iqbal, 556 U.S. 662 (2009) ....................................................................12

Barber v. Colorado Dep’t of Revenue, 562 F.3d 1222 (10th Cir. 2009).................18

Basta v. Novant Health Inc., 56 F.4th 307 (4th Cir. 2022) .....................................18

Bostock v. Clayton, 140 S. Ct. 1731 (2020) ..................................................... 10, 13

Brandt v. Rutledge, 47 F.4th 661 (8th Cir. 2022) ....................................................11

Brown v. Zavaras, 63 F.3d 967 (10th Cir. 1995) ........................................... 6, 8, 14

Contreras v. Doña Ana Cnty. Bd. of Cnty. Comm’rs,
      965 F.3d 1114 (10th Cir. 2020),
      cert. denied, 141 S. Ct. 1382 (2021) ..............................................................26

Cummings v. Premier Rehab Keller, PLLC, 142 S. Ct. 1562 (2022)......................20

Davis v. Monroe Cnty. Bd. of Educ., 526 U.S. 629 (1999) ........................ 19, 22, 24

Delano-Pyle v. Victoria Cnty., 302 F.3d 567 (5th Cir. 2002),
     cert. denied, 540 U.S. 810 (2003) ..................................................................18

Doe v. Pennsylvania Dep’t of Corr., No. 1:20-cv-00023,
      2021 WL 1583556 (E.D. Pa. Feb. 19, 2021) .................................................16

Duvall v. County of Kitsap, 260 F.3d 1124 (9th Cir. 2001) .............................. 18-19

Eknes-Tucker v. Governor of Ala., No. 22-11707,
      2023 WL 5344981 (Aug. 21, 2023) ..............................................................12


                                                   - iii -
     Appellate Case: 23-1135           Document: 33        Date Filed: 08/28/2023          Page: 5



CASES (continued):                                                                               PAGE

Everson v. Leis, 556 F.3d 484 (6th Cir. 2009).........................................................21

Farmer v. Brennan, 511 U.S. 825 (1994)................................................................21

Franklin v. Gwinnett Cnty. Pub. Schs., 503 U.S. 60 (1992)....................................24

Gebser v. Lago Vista Indep. Sch. Dist., 524 U.S. 274 (1998) .................... 8-9, 19-21

Glenn v. Brumby, 663 F.3d 1312 (11th Cir. 2011) ..................................................13

Grimm v. Gloucester Cnty. Sch. Bd., 972 F.3d 586 (4th Cir. 2020),
     as amended Aug. 28, 2020,
     cert. denied, 141 S. Ct. 2878 (2021) ................................................. 11, 13, 15

Grissom v. Roberts, 902 F.3d 1162 (10th Cir. 2018) ..............................................21

Guardians Ass’n v. Civil Serv. Comm’n, 463 U.S. 582 (1983) ...............................17

Hamer v. City of Trinidad, 924 F.3d 1093 (10th Cir.),
    cert. denied, 140 S. Ct. 644 (2019) ................................................................17

Hecox v. Little, Nos. 20-35813, 20-35815,
     2023 WL 5283127 (9th Cir. Aug. 17, 2023) .......................................... 11, 15

Holloway v. Arthur Anderson & Co., 566 F.2d 659 (9th Cir. 1977),
     recognized as overruled in Schwenk v. Hartford,
     204 F.3d 659, 533 (9th Cir. 2000) .................................................................14

J.V. v. Albuquerque Pub. Schs., 813 F.3d 1289 (10th Cir. 2016) ...........................18

Jackson v. Birmingham Bd. of Educ., 544 U.S. 167 (2005) .................... 9, 22, 24-25

L.W. v. Skrmetti, 73 F.4th 408 (6th Cir. 2023) ........................................................12

Lacy v. Cook Cnty., 897 F.3d 847 (7th Cir. 2018)...................................................18

Liese v. Indian River Cnty. Hosp. Dist., 701 F.3d 334 (11th Cir. 2012) .................18


                                                 - iv -
      Appellate Case: 23-1135               Document: 33           Date Filed: 08/28/2023             Page: 6



CASES (continued):                                                                                           PAGE

Loeffler v. Staten Island Univ. Hosp., 582 F.3d 268 (2d Cir. 2009) .......................18

Meagley v. City of Little Rock, 639 F.3d 384 (8th Cir. 2011) .................................18

Murrell v. School Dist. No. 1, 186 F.3d 1238 (10th Cir. 1999) ..............................19

Pearson v. Callahan, 555 U.S. 223 (2009) .............................................................21

Reno v. Koray, 515 U.S. 50 (1995) .........................................................................23

Roberts v. City of Omaha, 723 F.3d 966 (8th Cir. 2013) .................................. 25-26

S.H. v. Lower Merion Sch. Dist., 729 F.3d 248 (3d Cir. 2013) ...............................18

United States v. Virginia, 518 U.S. 515 (1996) .........................................................9

Whitaker v. Kenosha Unified Sch. Dist. No. 1 Bd. of Educ.,
     858 F.3d 1034 (7th Cir. 2017),
     cert. dismissed, 138 S. Ct. 1260 (2018) .................................................. 11, 13

Williams v. Kincaid, 45 F.4th 759 (4th Cir. 2022),
      cert. denied, 143 S. Ct. 2414 (2023) ..............................................................16

CONSTITUTION AND STATUTES:

U.S. Const. Art. I, § 8, Cl. 1 .......................................................................................9

Americans with Disabilities Act (ADA)
     42 U.S.C. 12102(4)(A) ..................................................................................24
     42 U.S.C. 12132 et seq. (Title II) ....................................................................2
     42 U.S.C. 12132.........................................................................................2, 16
     42 U.S.C. 12133.........................................................................................2, 17
     42 U.S.C. 12134...............................................................................................2
     42 U.S.C. 12211(b)(1) ...............................................................................6, 16

Civil Rights Act of 1964, 42 U.S.C. 2000d et seq. (Title VI) .................................17

Education Amendments Act of 1972, 20 U.S.C. 1681 et seq. (Title IX) ................19

                                                        -v-
      Appellate Case: 23-1135               Document: 33           Date Filed: 08/28/2023              Page: 7



STATUTES (continued):                                                                                         PAGE

Rehabilitation Act (Section 504)
     29 U.S.C. 705(9)(B).......................................................................................24
     29 U.S.C. 705(20)(F)(i) .............................................................................6, 16
     29 U.S.C. 794...................................................................................................2
     29 U.S.C. 794(a) ........................................................................................2, 17
     29 U.S.C. 794a(a) ..........................................................................................17

Ark. Code Ann. § 20-9-1501(1) (2021) ...................................................................11

REGULATION:

Exec. Order No. 13,988, § 1, 86 Fed. Reg. 7023 (Jan. 20, 2021)..............................2

RULE:

Fed. R. App. P. 29(a) .................................................................................................2

MISCELLANEOUS:

11 Williston on Contracts § 30:2 (4th ed. 2023) .....................................................23




                                                        - vi -
    Appellate Case: 23-1135    Document: 33      Date Filed: 08/28/2023   Page: 8



                IN THE UNITED STATES COURT OF APPEALS
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                                    No. 23-1135

                              DARLENE GRIFFITH,

                                               Plaintiff-Appellant

                                          v.

                    EL PASO COUNTY, COLORADO, et al.,

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        ON APPEAL FROM THE UNITED STATES DISTRICT COURT
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           BRIEF FOR THE UNITED STATES AS AMICUS CURIAE
                IN SUPPORT OF PLAINTIFFS-APPELLANT
                  ON THE ISSUES ADDRESSED HEREIN
                         ____________________

                    INTEREST OF THE UNITED STATES

      This appeal requires a determination of the proper level of scrutiny for

equal-protection claims challenging discrimination against transgender people.

The United States has a strong interest in protecting the rights of individuals who

are lesbian, gay, bisexual, transgender, or intersex, and the President has issued an

Executive Order that recognizes the right of all people to be “treated with respect
    Appellate Case: 23-1135     Document: 33     Date Filed: 08/28/2023   Page: 9
                                         -2-

and dignity” and receive “equal treatment under the law, no matter their gender

identity or sexual orientation.” Exec. Order No. 13,988, § 1, 86 Fed. Reg. 7023

(Jan. 20, 2021).

      Also at issue in this appeal is the proper standard for establishing damages

liability for intentional discrimination under Title II of the Americans with

Disabilities Act of 1990 (ADA), 42 U.S.C. 12132 et seq., and Section 504 of the

Rehabilitation Act, 29 U.S.C. 794. The Department of Justice has significant

responsibility for the enforcement and implementation of Title II and Section 504.

See 29 U.S.C. 794(a); 42 U.S.C. 12133, 12134. Because both Title II and Section

504 entitle private plaintiffs to compensatory damages upon a showing of

intentional discrimination, the outcome of this appeal will affect the ability of such

plaintiffs to obtain complete relief. The United States has a strong interest in

ensuring that individuals will serve as private attorneys general to supplement its

enforcement efforts. See U.S. Amicus Br. at 1, Acheson Hotels, LLC v. Laufer,

No. 22-429 (S. Ct. filed June 12, 2023) (oral argument scheduled for Oct. 4, 2023).

      The United States files this brief under Rule 29(a) of the Federal Rules of

Appellate Procedure.
     Appellate Case: 23-1135    Document: 33    Date Filed: 08/28/2023   Page: 10
                                         -3-

                          STATEMENT OF THE ISSUES

       The United States addresses the following questions only:

       1. Whether jail policies that treat detained transgender individuals

differently based on sex are subject to intermediate scrutiny under the Equal

Protection Clause.

       2. Whether the district court erred in holding that, to show “deliberate

indifference” necessary to receive compensatory damages under Title II of the

ADA or Section 504 of the Rehabilitation Act, a plaintiff must demonstrate that the

defendant violated “settled law.”1

                           STATEMENT OF THE CASE

1.     Factual Background

       Darlene Griffith is a transgender woman involved in the criminal legal

system. A.27.2 Griffith has been living as a transgender woman ever since she

was diagnosed with gender dysphoria more than 20 years ago. A.32. As part of

her medically supervised treatment for her gender dysphoria, Griffith “changed her

name and altered her physical appearance to conform to her female gender identity,


       1
        The United States takes no position on any other issue in this appeal,
including whether the policies at issue can satisfy intermediate scrutiny or whether
the Sheriff’s Office had adequate notice regarding its obligations under the ADA
and Rehabilitation Act toward detained individuals with gender dysphoria.
       2
           “A.__” refers to plaintiff-appellant’s appendix by page number.
   Appellate Case: 23-1135       Document: 33     Date Filed: 08/28/2023    Page: 11
                                           -4-

including dressing in feminine attire and taking feminizing hormones, which

caused her to develop female secondary characteristics such as breasts, soft skin, a

lack of facial hair, and other characteristics typically associated with women.”

A.32.

        In July 2020, Griffith began a period of pretrial detention at the El Paso

County Jail. A.36, A.53. During intake screening, Griffith notified the Jail and its

health-care personnel that she was a transgender woman diagnosed with gender

dysphoria. A.37. She expressly requested to be housed in the Jail’s facility for

women in accordance with her gender identity; she also feared sexual abuse from

guards and other detained individuals in the Jail’s male facility and the humiliation

of being searched by male guards. A.37. The Jail refused Griffith’s request based

on an official policy requiring detained transgender individuals to be housed in

accordance with their sex assigned at birth. A.37.

        After her initial placement in the Jail’s all-male unit, Griffith repeatedly

attempted to secure a transfer to the Jail’s female facility. Roughly one week after

Griffith objected to being placed in the all-male unit during her intake, a Jail

official conducted an “ADA * * * interview” but concluded that “there were no

disability concerns” regarding Griffith’s housing. A.37-A.38. Griffith also filed

numerous grievances concerning her placement in the Jail’s all-male unit and

requested that health-care providers help arrange her transfer to the female facility,
     Appellate Case: 23-1135   Document: 33     Date Filed: 08/28/2023    Page: 12
                                         -5-

but Jail officials repeatedly denied Griffith’s requests. A.37-A.40. In addition,

Griffith filed several grievances about or otherwise objected to the Jail’s insistence

on male corrections officers searching her (A.41-A.42, A.44-A.45); Jail officials

refusing to call her by her preferred female name and pronouns (A.46-A.47); and

the Jail’s refusal to provide her with women’s underwear or to allow her to

purchase the same, as well as lipstick (A.48-A.49).

       The Jail’s refusal to treat Griffith in accordance with her gender identity

resulted in significant harm. As a result of being housed in the Jail’s all-male unit,

Griffith was subjected to “sexual assault, harassment, and degrading and

transphobic behavior at the hands of male” corrections officers. A.37; see also

A.41-A.42 (alleging that a male corrections officer sexually harassed and assaulted

her while performing a visual body-cavity search). In addition, Griffith was

sexually assaulted by detained individuals housed in the all-male unit. A.43-A.44.

Griffith repeatedly informed Jail medical personnel that being denied the ability to

live as a woman in the Jail was causing her to contemplate self-castration. A.32.

She eventually attempted that form of self-mutilation by tightly wrapping a rubber

band around her genitalia. A.33, A.41, A.45, A.48, A.50.

2.     Procedural History

       Griffith filed suit alleging, among other claims, violations of the Equal

Protection Clause, Title II of the ADA, and Section 504 of the Rehabilitation Act.
   Appellate Case: 23-1135      Document: 33    Date Filed: 08/28/2023     Page: 13
                                         -6-

A.50-A.52, A.68-A.74. Among other relief, she seeks compensatory damages.

A.81.

        Defendants filed a motion to dismiss (A.21 (ECF No. 132)), which a

magistrate judge recommended that the district court grant in full (A.124).

Although Griffith argued that “discrimination against transgender people is a form

of sex of discrimination” (A.50), the magistrate judge determined that the court

was required by this Court’s decision in Brown v. Zavaras, 63 F.3d 967

(10th Cir. 1995), to apply rational-basis review to Griffith’s equal-protection claim

and found that the Jail’s housing policy survived that level of scrutiny

(A.105-A.106).

        With regard to the Title II and Section 504 claims, the magistrate judge

found that Griffith had adequately pleaded a prima facie case of disability

discrimination. See A.119, A.121. In particular, the magistrate judge found that

gender dysphoria constitutes a “disability” under Title II and Section 504 because

that condition does not fall within those statutes’ exclusion of “gender identity

disorders not resulting from physical impairments.” A.119; see also 29 U.S.C.

705(20)(F)(i); 42 U.S.C. 12211(b)(1). But the magistrate judge nevertheless

recommended dismissal of Griffith’s Title II and Section 504 claims, finding that

Griffith had not adequately alleged that the El Paso County Sheriff’s Office’s

failure to accommodate her disability amounted to deliberate indifference to her
   Appellate Case: 23-1135     Document: 33     Date Filed: 08/28/2023    Page: 14
                                         -7-

federal rights, as is required for certain damages claims under those statutes. See

A.123. According to the magistrate judge, Griffith’s allegations did not satisfy the

deliberate-indifference standard because it is not “settled law” that gender

dysphoria falls outside the “gender identity disorder” exclusion. A.119, A.123.

      The district court adopted the magistrate judge’s report and recommendation

“in full.” A.135. After entry of judgment, Griffith timely appealed. A.149-A.151.

                       SUMMARY OF THE ARGUMENT
      This Court should reverse the dismissal of Griffith’s equal-protection claim

and remand with instructions for the district court to apply intermediate scrutiny.

In addition, this Court should clarify the deliberate-indifference standard

applicable to certain damages claims under Title II of the ADA and Section 504 of

the Rehabilitation Act.

      1. The district court erred in holding that rational-basis review rather than

intermediate scrutiny applies to the Jail’s policies, which treat transgender detained

individuals differently based on their sex. The Jail engages in sex classification by

assigning transgender detained individuals to gender-segregated housing based on

their sex assigned at birth. Similarly, the Jail engages in sex classification by

insisting that detained individuals be searched by a corrections officer who shares

their sex assigned at birth and by refusing to call detained individuals by preferred

names or pronouns that do not align with their sex assigned at birth. The Jail also
    Appellate Case: 23-1135    Document: 33     Date Filed: 08/28/2023   Page: 15
                                         -8-

classifies based on sex by treating transgender detained individuals differently

based on their nonconformity with stereotypes in refusing to provide transgender

women with women’s underwear or allowing them to purchase the same, as well

as lipstick.

       Brown v. Zavaras, 63 F.3d 967 (10th Cir. 1995), does not preclude this

Court from reviewing the Jail’s policies under intermediate scrutiny. That case

expressly left open the question of what level of scrutiny applies to government

policies that discriminate against transgender people, and it did not address

Griffith’s argument that such discrimination is a form of sex discrimination.

       2. The district court also erred in dismissing Griffith’s damages claims

under Title II of the ADA and Section 504 of the Rehabilitation Act based on the

conclusion that there is no “settled law” that those statutes protect people with

gender dysphoria from discrimination on that basis. The deliberate-indifference

standard that applies to certain Title II and Section 504 damages claims contains no

such “settled law” requirement. That standard concerns the defendant’s knowledge

of the facts constituting the likely violation—not knowledge that those facts give

rise to violation of the law. As the Supreme Court has explained, a defendant has

acted with deliberate indifference when an official who “has authority to address

the alleged discrimination and to institute corrective measures” has “actual

knowledge of discrimination” but “fails adequately to respond.” Gebser v. Lago
     Appellate Case: 23-1135   Document: 33      Date Filed: 08/28/2023   Page: 16
                                         -9-

Vista Indep. Sch. Dist., 524 U.S. 274, 290 (1998).

       Although the Supreme Court has separately held that statutes enacted under

the Spending Clause, U.S. Const. Art. I, § 8, Cl. 1, such as the Rehabilitation Act

require that defendants have legal notice that they may be subject to private

damages actions, Jackson v. Birmingham Bd. of Educ., 544 U.S. 167, 181 (2005),

that principle provides no support for the district court’s “settled law” requirement.

As the Supreme Court’s decisions demonstrate, a Spending Clause statute can

provide the requisite notice of potential liability even if courts disagree about the

proper interpretation of the law.

                                    ARGUMENT
                                           I
     INTERMEDIATE SCRUTINY APPLIES TO THE JAIL’S POLICIES
          BECAUSE THEY DIFFERENTIATE BASED ON SEX
       The district court erred in holding that rational-basis review rather than

intermediate scrutiny applies to the Jail’s policies, which treat transgender detained

individuals differently based on sex. A.142-A.143.

A.     The Jail’s Policies Differentiate On The Basis Of Sex

       Intermediate scrutiny applies to the Jail’s policies because they depend on

sex-based classifications. See United States v. Virginia, 518 U.S. 515, 555 (1996).

The Jail differentiates based on sex in assigning transgender detained individuals to

gender-segregated housing. A.37. Under the Jail’s housing policy, a detained
   Appellate Case: 23-1135     Document: 33      Date Filed: 08/28/2023   Page: 17
                                        - 10 -

individual whose sex assigned at birth is female and whose gender identity is

female (i.e., a non-transgender, or cisgender, person) is housed in accordance with

her gender identity in the Jail’s female facility. But a detained individual like

Griffith whose sex assigned at birth is male and whose gender identity is female

(i.e., a transgender person) must be assigned to the Jail’s all-male unit, thereby

denying her housing that accords with her gender identity. The same sort of

differentiation is present in the Jail’s policies regarding how corrections officers

conduct searches and the names and pronouns by which personnel refer to detained

individuals. A.41, A.46. Because the Jail insists that detained individuals be

searched by a corrections officer who shares their sex assigned at birth, non-

transgender detained individuals can be searched by corrections officers who share

their gender identity; transgender people cannot. And because the Jail insists that

personnel refer to detained individuals by names and pronouns that correspond to

their sex assigned at birth, non-transgender detained individuals can be called by

their preferred names and pronouns; transgender people cannot.

      Because the Jail’s policies turn on detained individuals’ sex assigned at

birth, they inherently involve sex-based classifications. See Bostock v. Clayton,

140 S. Ct. 1731, 1741 (2020) (explaining that sex discrimination occurs “if

changing the employee’s sex would have yielded a different choice by the

employer”). Other courts of appeals have applied intermediate scrutiny in
   Appellate Case: 23-1135     Document: 33      Date Filed: 08/28/2023   Page: 18
                                        - 11 -

circumstances involving the restriction of access to school bathrooms or

participation in athletics based on a student’s sex assigned at birth. The Fourth,

Seventh, Ninth, and Eleventh Circuits have all concluded that such policies are

“inherently based upon a sex-classification” because they “cannot be stated

without referencing sex.” Whitaker v. Kenosha Unified Sch. Dist. No. 1 Bd. of

Educ., 858 F.3d 1034, 1051 (7th Cir. 2017), cert. dismissed, 138 S. Ct. 1260

(2018); see also Hecox v. Little, Nos. 20-35813, 20-35815, 2023 WL 5283127, at

*11 (9th Cir. Aug. 17, 2023); Adams v. School Bd. of St. John’s Cnty., 57 F.4th

791, 803 (11th Cir. 2022) (en banc); Grimm v. Gloucester Cnty. Sch. Bd., 972 F.3d

586, 608 (4th Cir. 2020), as amended Aug. 28, 2020, cert. denied, 141 S. Ct. 2878

(2021). And the Eighth Circuit reached the same conclusion in reviewing a law

that denies medical care to transgender minors on the basis of their “biological

sex.” Brandt v. Rutledge, 47 F.4th 661, 669-670 (2022) (quoting Ark. Code Ann.

§ 20-9-1501(1) (2021)) (holding that the law must be reviewed under intermediate

scrutiny because “[t]he biological sex of the minor patient is the basis on which the

law distinguishes between those who may receive certain types of medical care and

those who may not”). 3


      3
         The Eleventh Circuit recently held that the rational-basis standard applied
to a law similar to the one at issue in Brandt because, in the court’s view, that law
“is best understood as * * * target[ing] specific medical interventions for minors,
not one that classifies on the basis of any suspect characteristic under the Equal
   Appellate Case: 23-1135     Document: 33      Date Filed: 08/28/2023   Page: 19
                                        - 12 -

      The Jail also treats transgender detained individuals differently based on

their nonconformity with stereotypes associated with their sex assigned at birth in

regulating what undergarments they can wear and what grooming products they

can use. Specifically, the Jail provides women’s underwear to non-transgender

detained individuals whose sex assigned at birth is female, but it refuses to do the

same for transgender detained individuals whose sex assigned at birth is male or to

allow them to purchase such garments. A.48-A.49. The Jail also allows non-

transgender detained individuals whose sex assigned at birth is female to purchase

lipstick, but it precludes transgender detained individuals whose sex assigned at

birth is male from doing so. A.49. This gives rise to a “reasonable inference” that

the Jail’s policies concerning garments and grooming are based on stereotypes

about how men and women dress. See Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009). That inference is reinforced by the fact that an official offered an allegedly

pretextual explanation for the Jail’s underwear policy, saying that transgender

women do not need to “hold female products down there,” even though the Jail




Protection Clause.” Eknes-Tucker v. Governor of Alabama, No. 22-11707, 2023
WL 5344981, at *15 (Aug. 21, 2023); accord L.W. v. Skrmetti, 73 F.4th 408, 419,
422 (6th Cir. 2023) (a motions panel reaching the same conclusion in ruling on an
emergency stay of a preliminary injunction prior to full appellate briefing, but
ackowledging that its views are “initial” and “may be wrong”) (oral argument
scheduled Sept. 1, 2023). That reasoning has no application to the Jail’s policies,
which do not regulate medical procedures for minors.
     Appellate Case: 23-1135    Document: 33        Date Filed: 08/28/2023   Page: 20
                                           - 13 -

provides women’s underwear to non-transgender women who do not menstruate.

A.48; see also A.49 (similar justification offered by an El Paso County official).

       As the Eleventh Circuit has explained, “discrimination against a transgender

individual because of her gender-nonconformity is sex discrimination.” Glenn v.

Brumby, 663 F.3d 1312, 1317 (11th Cir. 2011); see also Bostock, 140 S. Ct. at

1741 (finding sex discrimination where an employer “penalizes a person identified

as male at birth for traits or actions that it tolerates in an employee identified as

female at birth”). As a result, when the failure to conform to sex stereotypes serves

as the basis for differential treatment, courts have found that intermediate scrutiny

applies. See, e.g., Glenn, 663 F.3d at 1320; Grimm, 972 F.3d at 608-609;

Whitaker, 858 F.3d at 1051.

       Whether or not the Jail’s policies could satisfy intermediate scrutiny, they

clearly draw lines based on sex, and the district court erred in subjecting them only

to rational-basis review. Accordingly, this Court should reverse dismissal of

Griffith’s equal-protection claim and remand for the district court to consider it

under the appropriate level of scrutiny.

B.     Brown Does Not Require Application Of Rational-Basis Review To
       Griffith’s Equal-Protection Claim

       The district court stated that if it had been writing on a clean slate, it “would

not hesitate to find that heightened scrutiny” applies to the prison’s policies

because they differentiate on the basis of sex. A.143. But the court concluded that
   Appellate Case: 23-1135     Document: 33      Date Filed: 08/28/2023   Page: 21
                                        - 14 -

it was required to apply rational-basis review because of this Court’s decision in

Brown v. Zavaras, 63 F.3d 967 (10th Cir. 1995). A.143-A.144. That decision

does not resolve what level of scrutiny applies in this case.

      Brown affirmed a district court’s dismissal of an equal-protection claim

challenging a prison’s refusal to provide hormone therapy to a transgender

incarcerated person. 63 F.3d at 969, 972. In discussing what level of scrutiny

should apply to the claim, this Court noted that the Ninth Circuit had held at that

time that transgender people are not a protected class based in part on the

conclusion that gender identity is not an “immutable characteristic.” Id. at 971

(quoting Holloway v. Arthur Anderson & Co., 566 F.2d 659, 663 (9th Cir. 1977),

recognized as overruled in Schwenk v. Hartford, 204 F.3d 1187, 1201 (9th Cir.

2000)). But it also observed that, even two decades ago, “research concluding

sexual identity may be biological” called into question the Ninth Circuit’s

reasoning. Ibid. Nevertheless, this Court refused to break new ground “in [that]

case” by applying heightened scrutiny because the plaintiff’s “allegations [were]

too conclusory to allow proper analysis of [that] legal question.” Ibid. (emphasis

added). This Court thus specifically refused to engage in the legal analysis

underlying the level-of-scrutiny debate, leaving that “legal question” open within

the circuit. Ibid. Indeed, Brown carefully held only that “Mr. Brown is not a

member of a protected class.” Ibid. (emphasis added). Beyond the case-specific
   Appellate Case: 23-1135      Document: 33      Date Filed: 08/28/2023   Page: 22
                                         - 15 -

framing of Brown’s holding, the case also did not address Griffith’s argument that

policies that discriminate against transgender people necessarily differentiate on

the basis of sex.

      If this Court were to apply rational-basis review in all cases involving

discrimination against transgender people, it would stand virtually alone. See

pp. 10-11 & n.3, supra. This Court should therefore hold that intermediate

scrutiny applies to the Jail’s policies because they differentiate on the basis of sex.4

                                           II

      COMPENSATORY DAMAGES CLAIMS UNDER TITLE II AND
         SECTION 504 ARE NOT LIMITED TO VIOLATIONS
                      OF “SETTLED LAW”

      The district court applied an incorrect legal standard in dismissing Griffith’s

claims under Title II of the ADA and Section 504 of the Rehabilitation Act.

According to the court, the Sheriff’s Office did not act with deliberate indifference

to Griffith’s federal rights, as is required for certain money damages claims under

Title II and Section 504, because there is no “settled law” that Griffith’s gender

dysphoria is a condition that is covered by the ADA or Rehabilitation Act. A.123.


      4
         Because Brown expressly limited its holding to the facts of that case and,
properly read, left undecided the proper level of scrutiny for other cases involving
discrimination against transgender people, this Court also could join the Fourth and
Ninth Circuits in holding that transgender people constitute a quasi-suspect class
and that classifications based on transgender status are thus entitled to heightened
scrutiny. See Grimm, 972 F.3d at 607; Hecox, 2023 WL 5283127, at *11.
     Appellate Case: 23-1135    Document: 33      Date Filed: 08/28/2023   Page: 23
                                         - 16 -

Both statutes exclude “gender identity disorders not resulting from physical

impairments” from their shared definition of “disability.” 29 U.S.C. 705(20)(F)(i);

42 U.S.C. 12211(b)(1). Although the court interpreted that exclusion as not

applying to gender dysphoria (A.119), it held that the Sheriff’s Office could not

have acted with deliberate indifference because some other district courts have

construed the exclusion differently, meaning, in the court’s view, that there is no

“settled law” on the topic (A.123). 5 That was error. Neither the deliberate-

indifference standard nor the separate requirement that defendants have notice of

their legal obligations under Spending Clause statutes limits damages liability

under such statutes to violations of “settled law.”

A.     The Deliberate-Indifference Standard Applicable To Certain Title II And
       Rehabilitation Act Claims Concerns The Defendant’s Notice Of The Facts,
       Not The Law

       Title II provides that “no qualified individual with a disability shall, by

reason of such disability, be excluded from participation in or be denied the

benefits of the services, programs, or activities of a public entity, or be subject to

discrimination by any such entity.” 42 U.S.C. 12132. Section 504 similarly


       5
          Since Griffith filed suit, the Fourth Circuit became the first court of
appeals to construe the “gender identity disorder” exclusion, holding that “gender
dysphoria does not fall within” the provision. Williams v. Kincaid, 45 F.4th 759,
779-780 (2022), cert. denied, 143 S. Ct. 2414 (2023). Before Williams, many
district courts had come to the same conclusion. See Doe v. Pennsylvania Dep’t of
Corr., No. 1:20-cv-00023, 2021 WL 1583556, at *8-9 (E.D. Pa. Feb. 19, 2021)
(collecting cases).
   Appellate Case: 23-1135     Document: 33      Date Filed: 08/28/2023   Page: 24
                                        - 17 -

prohibits recipients of federal financial assistance from discriminating on the basis

of disability. 29 U.S.C. 794(a). Because Title II and Section 504 “involve the

same substantive standards,” courts typically analyze such claims together. Hamer

v. City of Trinidad, 924 F.3d 1093, 1099 (10th Cir.) (citation omitted), cert. denied,

140 S. Ct. 644 (2019).

      The remedies available under both Title II and Section 504 are the same as

those available under Title VI of the Civil Rights Act of 1964, 42 U.S.C. 2000d et

seq. See 29 U.S.C. 794a(a) (making Title VI remedies available for violations of

Sections 504); 42 U.S.C. 12133 (incorporating by reference Section 504’s

remedies into Title II). In Guardians Ass’n v. Civil Service Commission, the

Supreme Court held that plaintiffs suing under Title VI’s implied private right of

action may obtain compensatory damages only in instances of “intentional

discrimination.” 463 U.S. 582, 606-607 & n.27 (1983) (opinion of White, J.); see

also Alexander v. Sandoval, 532 U.S. 275, 282-283 (2001) (“In Guardians, the

Court held that private individuals could not recover compensatory damages under

Title VI except for intentional discrimination.”). Compensatory damages are

therefore likewise available under Title II of the ADA and Section 504 only for

claims alleging intentional discrimination. Hamer, 924 F.3d at 1108.

      The Supreme Court has not specified what “intentional discrimination”

means in the context of claims alleging that the defendant failed to provide an
   Appellate Case: 23-1135      Document: 33      Date Filed: 08/28/2023    Page: 25
                                         - 18 -

accommodation required by the Rehabilitation Act (or, by extension, under Title II

of the ADA). But this Court has held, in accordance with nearly uniform authority,

that a defendant engages in intentional discrimination—and thus is liable for

damages—if it is deliberately indifferent to the plaintiff’s need for an

accommodation required by those statutes. See J.V. v. Albuquerque Pub. Schs.,

813 F.3d 1289, 1298 & n.6 (10th Cir. 2016) (applying the deliberate-indifference

standard to a Title II damages claim); Barber v. Colorado Dep’t of Revenue, 562

F.3d 1222, 1228 (10th Cir. 2009) (same for a Section 504 damages claim).6 Under

that standard, a plaintiff need not show that the defendant acted with “ill will or

animosity toward the disabled person.” Barber, 562 F.3d at 1228. Rather,

deliberate indifference is established by demonstrating that: “(1) [the defendant

acted with] ‘knowledge that a harm to a federally protected right is substantially

likely,” and (2) ‘a failure to act upon that . . . likelihood.” Id. at 1229 (quoting

Duvall v. County of Kitsap, 260 F.3d 1124, 1139 (9th Cir. 2001)).



      6
          Accord Basta v. Novant Health Inc., 56 F.4th 307, 316-317 (4th Cir.
2022); Lacy v. Cook Cnty., 897 F.3d 847, 862 (7th Cir. 2018); S.H. v. Lower
Merion Sch. Dist., 729 F.3d 248, 263 (3d Cir. 2013); Liese v. Indian River Cnty.
Hosp. Dist., 701 F.3d 334, 342 (11th Cir. 2012); Meagley v. City of Little Rock,
639 F.3d 384, 389 (8th Cir. 2011); Loeffler v. Staten Island Univ. Hosp., 582 F.3d
268, 275 (2d Cir. 2009); Duvall v. County of Kitsap, 260 F.3d 1124, 1138 (9th Cir.
2001). But see Delano-Pyle v. Victoria Cnty., 302 F.3d 567, 575 (5th Cir. 2002)
(stating, without explanation or analysis, that “[t]here is no ‘deliberate
indifference’ standard applicable to public entities for the purpose of the ADA or
the [Rehabilitation Act]”), cert. denied, 540 U.S. 810 (2003).
   Appellate Case: 23-1135     Document: 33       Date Filed: 08/28/2023   Page: 26
                                         - 19 -

      Under that standard, the relevant knowledge concerns the facts constituting

the likely violation—not knowledge that those facts give rise to a violation of the

law. In Duvall, for example, the Ninth Circuit explained that this element of the

deliberate-indiffence standard is “satisfied” in a case under the Rehabilitation Act

and Title II of the ADA if “the plaintiff has alerted the public entity to his need for

accommodation.” 260 F.3d at 1139. Similarly, in the Title VI context, this Court

has held that the knowledge requirement is satisfied if “a school official who

possessed the requisite control over the situation had actual knowledge of * * *

the alleged harassment.” Murrell v. School Dist. No. 1, 186 F.3d 1238, 1247 (10th

Cir. 1999). And in case involving a claim under Title IX of the Education

Amendments Act of 1972, 20 U.S.C. 1681 et seq., the Supreme Court held that a

plaintiff adequately alleged deliberate indifference despite the existence of a circuit

split on whether the relevant form of discrimination—student-on-student sexual

harassment—could form the basis of private damages suit under Title IX. See

Davis v. Monroe Cnty. Bd. of Educ., 526 U.S. 629, 637-638, 653-654 (1999).

      That deliberate-indifference standard has its origins in Gebser v. Lago Vista

Independent School District, 524 U.S. 274 (1998). In that case, the Supreme Court

held that the deliberate-indifference standard is appropriate for damages claims

under Title IX, based on discriminatory conduct of a school employee rather than

the school itself. Gebser, 524 U.S. at 290-291. Relying on Title IX’s “contractual
   Appellate Case: 23-1135     Document: 33       Date Filed: 08/28/2023   Page: 27
                                         - 20 -

nature” as a statute enacted under the Spending Clause, the Supreme Court held

that a school should not be subject to liability “for a teacher’s sexual harassment of

a student based on principles of respondeat superior or constructive notice, i.e.,

without actual notice to a school district official.” Id. at 285. And the Court

further reasoned that, to justify liability, the official’s response “must amount to

deliberate indifference to discrimination”—that is, “an official decision by the

recipient not to remedy the violation.” Id. at 290.

      Title VI, like Title IX, is an antidiscrimination statute enacted under

Congress’s Spending Clause power, so Gebser’s rationale concerning factual

notice applies with equal force to damages claims under that statute—and, by

extension, to Section 504, which incorporates Title VI’s remedies. See Cummings

v. Premier Rehab Keller, PLLC, 142 S. Ct. 1562, 1569 (2022). And although the

ADA is not a Spending Clause statute, Title II’s incorporation by reference of

Section 504’s remedies means that the same analysis applies to Griffith’s claim

under that statute.

      Gebser determined that the deliberate-indifference standard is appropriate

for damages claims under Spending Clause statutes because it ensures that

recipients of federal financial assistance have adequate “notice” of the alleged

violation and an opportunity to take “corrective actions” before liability is

imposed. 524 U.S. at 288-289. But that standard does not require a defendant to
    Appellate Case: 23-1135     Document: 33      Date Filed: 08/28/2023   Page: 28
                                         - 21 -

subjectively understand that a violation of a federally protected right is likely.

Rather, the standard requires only that a defendant have received “information”

that was objectively sufficient to “alert” the official about the alleged violation. Id.

at 291. 7

       Here, there is no dispute that the Sheriff’s Office was aware that Griffith had

been diagnosed with gender dysphoria and that she had requested accommodations

related to that condition. The operative complaint is replete with allegations

concerning Griffith’s numerous grievances and complaints to Jail officials

regarding being housed in an all-male unit, searched by male guards, misgendered,

and denied women’s underwear and grooming products. A.37-A.41, A.44-A.49.

And a Jail official conducted an “ADA * * * interview” after Griffith protested

being housed in an all-male unit (A.37).




       7
          In that respect, the deliberate-indifference standard applicable to Title II
and Section 504 damages claims differs from the standard known by the same
name that governs Eighth Amendment conditions-of-confinement claims. That
standard, unlike the one at issue here, is “anything but objective.” Farmer v.
Brennan, 511 U.S. 825, 841 (1994). Eighth Amendment claims also differ from
Title II and Section 504 damages claims because qualified immunity is a defense
that typically is available against the former category of claims, see Grissom v.
Roberts, 902 F.3d 1162, 1173-1175 (10th Cir. 2018), but not the latter, see Everson
v. Leis, 556 F.3d 484, 501 n.7 (6th Cir. 2009). The qualified-immunity defense,
unlike the deliberate-indifference standard, allows for liability only for violations
of “clearly established” law. Pearson v. Callahan, 555 U.S. 223, 231 (2009)
(citation omitted).
     Appellate Case: 23-1135   Document: 33       Date Filed: 08/28/2023   Page: 29
                                         - 22 -

B.     The Legal Notice Required For Damages Liability Under Title II Or Section
       504 Does Not Amount To A “Settled Law” Requirement

       Apart from the deliberate-indifference standard’s factual-notice component,

the Supreme Court also has held that “private damages actions” under Spending

Clause statutes like Title VI, Title IX, and the Rehabilitation Act “are available

only where recipients of federal funding had adequate notice that they could be

liable for the conduct at issue.” Jackson v. Birmingham Bd. of Educ., 544 U.S.

167, 181 (2005) (citation omitted). In other words, Spending Clause statutes also

require legal notice. The Court has reasoned that Spending Clause legislation is

“in the nature of a contract” and that a funding recipient cannot knowingly accept

its obligations under the statute if it is “unaware of the conditions imposed by the

legislation on its receipt of funds.” Id. at 182 (brackets and citation omitted).

Thus, a funding recipient must “have notice that it will be liable for a monetary

award” before it can be “subject[ed] to damages liability.” Davis, 526 U.S. at 641-

642 (citation omitted). But that principle also provides no support for the district

court’s “settled law” requirement.

       A judicial consensus is not a prerequisite for the type of legal notice that the

Supreme Court’s decisions require. Statutory interpretation is sometimes

necessary to determine the conditions to which a covered entity agreed in

accepting federal financial assistance, but that is not in tension with the contractual

nature of Spending Clause legislation. “Interpretation of the language of a contract
   Appellate Case: 23-1135      Document: 33      Date Filed: 08/28/2023   Page: 30
                                         - 23 -

is a logical necessity. * * * Whatever may be the inaccuracy of expression or the

inaptness of the words used in an instrument from a legal perspective, if the

intention of the parties can be clearly discovered, the court will give effect to it and

construe the words accordingly.” 11 Williston on Contracts § 30:2 (4th ed. 2023).

Even an unambiguous contractual term will often require courts to “apply[]

established rules of interpretation” before determining that the term in question has

“a definite or certain meaning as a matter of law.” Id. § 30:4.

      Whether a covered entity has sufficient notice of its legal obligations is

therefore not determined exclusively by a tally of prior judicial opinions. Indeed,

the Supreme Court routinely finds statutes to be clear, even in the face of divided

circuit—let alone district—authority. See, e.g., Reno v. Koray, 515 U.S. 50, 64-65

(1995) (“A statute is not “ambiguous” for purposes of [the rule] of lenity merely

because there is a division of judicial authority over its proper construction.”

(internal quotation marks and citation omitted)).

      The Supreme Court’s approach to interpreting the scope of Spending Clause

statutes confirms that a violation of “settled law” is not necessary for damages

liability under such statutes. The Court has found Spending Clause statutes to be

sufficiently clear to support a private damages action even in the absence of

judicial consensus. For example, the Court has held that “sexual harassment is a

form of discrimination for Title IX purposes and that Title IX proscribes
   Appellate Case: 23-1135     Document: 33       Date Filed: 08/28/2023   Page: 31
                                         - 24 -

harassment with sufficient clarity” to “serve as the basis for a damages action”

even though lower courts had disagreed on that question. Davis, 526 U.S. at 650;

see also Franklin v. Gwinnett Cnty. Pub. Schs., 503 U.S. 60, 65 (1992).

      Similarly, in Jackson, the Court held that Title IX’s implied private right of

action encompasses retaliation claims. 544 U.S. at 174. The Court reached that

conclusion by analyzing, among other things, Title IX’s “text” and concluding that

“[r]etaliation is, by definition, an intentional act” and “a form of ‘discrimination’

because the complainant is being subjected to differential treatment.” Id.

at 173-174 (citation omitted). Moreover, the Court expressly rejected the

defendant’s argument that it lacked adequate “notice that it could be held liable for

retaliating against those who complain of Title IX violations.” Id. at 182. It found

that the defendant “should have been put on notice” by the Court’s decisions

“interpret[ing] Title IX’s private cause of action broadly to encompass diverse

forms of intentional sex discrimination.” Id. at 183. Similar considerations should

have been part of the notice analysis in the context of the ADA and Rehabilitation

Act, where Congress itself has instructed that the statutes’ “definition of disability

* * * shall be construed in favor of broad coverage of individuals * * * to the

maximum extent permitted by the terms of” those statutes. 42 U.S.C.

12102(4)(A); see also 29 U.S.C. 705(9)(B) (incorporating by reference the ADA’s

definition of disability into the Rehabilitation Act). Although Jackson observed
     Appellate Case: 23-1135    Document: 33       Date Filed: 08/28/2023   Page: 32
                                          - 25 -

that “the Courts of Appeals that had considered the question at the time of the

conduct at issue in th[at] case all had interpreted Title IX to cover retaliation,” it

did so to reinforce its analysis and did not suggest that unanimity among courts of

appeals is a prerequisite for adequate notice. 544 U.S. at 183.

       Other sources besides judicial opinions and a statute’s text also can be

relevant to determining whether a defendant has adequate notice of a particular

legal obligation imposed by a Spending Clause statute. For example, the Jackson

Court considered federal agency regulations implementing Title IX in determining

that a defendant had adequate notice that the statute’s private right of action

encompasses retaliation claims. 544 U.S. at 183.

C.     The District Court Offered No Sound Basis For A “Settled Law”
       Requirement

       The sole case that the district court cited to support its “settled law”

requirement is inapposite. A.123 (citing Roberts v. City of Omaha, 723 F.3d 966,

975-976 (8th Cir. 2013)). Roberts concerned a police-involved shooting of a man

experiencing a mental-health crisis while he was being taken into custody. 723

F.3d at 969-971. The plaintiff argued that the city was liable for the shooting

because it had “failed properly to train its employees under the ADA and the

Rehabilitation Act.” Id. at 975. Rejecting that argument, the Eighth Circuit held

that a municipality’s failure to train its officers to avoid violations of those statutes
   Appellate Case: 23-1135     Document: 33       Date Filed: 08/28/2023   Page: 33
                                         - 26 -

could not constitute deliberate indifference unless the relevant violations were

clearly established. Id. at 976.

      Members of this Court have debated whether that is the proper approach to

deliberate indifference in the context of a failure-to-train claim against a

municipality. In Contreras v. Doña Ana Cnty. Bd. of Cnty. Comm’rs, 965 F.3d

1114 (10th Cir. 2020), cert. denied, 141 S. Ct. 1382 (2021), Judge Carson reasoned

that a “municipality’s failure to teach its employees not to violate a person’s

constitutional rights” can constitute deliberate indifference only if those rights are

“clearly established.” Id. at 1124 (Carson, J., concurring in part and concurring in

the judgment). Judge Baldock, in contrast, suggested that such a requirement

would improperly afford a municipality qualified immunity. Id. at 1139-1141

(Baldock, J., concurring in part and dissenting in part). But whatever the proper

approach in the failure-to-train context, the same logic does not apply where, as

here, the plaintiff does not rely on the defendant’s failure to train its employees,

but instead challenges a funding recipient’s official decision not to accommodate

her disability. As Judge Carson put it, when a plaintiff challenges “a municipal act

such as the termination of a municipal employee without due process,” then “the

violated right need not be clearly established because fault and causation obviously

belong to the city.” Id. at 1124 (Carson, J., concurring in part and concurring in

the judgment) (citation omitted).
   Appellate Case: 23-1135    Document: 33       Date Filed: 08/28/2023   Page: 34
                                       - 27 -

                                  CONCLUSION

      For the foregoing reasons, this Court should reverse dismissal of Griffith’s

equal-protection claim and remand with instructions for the district court to apply

intermediate scrutiny and clarify the deliberate-indifference standard applicable to

Title II and Section 504 damages claims.

                                                Respectfully submitted,

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   Appellate Case: 23-1135     Document: 33    Date Filed: 08/28/2023   Page: 35



                       CERTIFICATE OF COMPLIANCE

        I certify that the attached BRIEF FOR THE UNITED STATES AS

AMICUS CURIAE IN SUPPORT OF PLAINTIFF-APPELLANT:

        1. complies with the type-volume limitation of Federal Rules of Appellate

Procedure 29(a)(5) and 32(a)(7)(B) because it contains 6,090 words, excluding the

parts of the brief exempted by Federal Rule of Appellate Procedure 32(f); and

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                                              s/ Jonathan L. Backer
                                              JONATHAN L. BACKER
                                               Attorney

Date: August 28, 2023
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                   CERTIFICATE OF DIGITAL SUBMISSION

      I certify that the electronic version of the foregoing BRIEF FOR THE

UNITED STATES AS AMICUS CURIAE IN SUPPORT OF PLAINTIFF-

APPELLANT, prepared for submission via ECF, complies with the following

requirements:

      1. All required privacy redactions have been made under Federal Rule of

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                                            s/ Jonathan L. Backer
                                            JONATHAN L. BACKER
                                             Attorney


Dated: August 28, 2023
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                          CERTIFICATE OF SERVICE

      I certify that on August 28, 2023, I electronically filed the foregoing BRIEF

FOR THE UNITED STATES AS AMICUS CURIAE IN SUPPORT OF

PLAINTIFF-APPELLANT with the Clerk of the Court for the United States Court

of Appeals for the Tenth Circuit by using the appellate CM/ECF system, which

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                                               s/ Jonathan L. Backer
                                               JONATHAN L. BACKER
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